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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

  IN RE: VALSARTAN LOSARTAN, MDL No. 2875
  AND IRBESARTAN PRODUCTS
  LIABILITY LITIGATION       Honorable Renée Marie Bumb,
                             District Judge




  This Documents Relates to All Actions


  DEFENDANT ZHP’S RESPONSE TO PLAINTIFFS’ BRIEF IN SUPPORT
  OF REQUEST FOR ATTORNEYS’ FEES, EXPENSES AND MONETARY
     SANCTION PURSUANT TO SPECIAL MASTER ORDER NO. 98
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        Defendant Zhejiang Huahai Pharmaceutical Co., Ltd. (“ZHP”) hereby submits

  its response to Plaintiffs’ brief in support of request for attorneys’ fees, expenses and

  monetary sanction pursuant to Special Master Order No. 98 (“SMO 98”).

        As a preliminary matter, ZHP reiterates its general objections to SMO 98 and

  reserves all rights to challenge the order in full. But the Special Master has ordered

  ZHP to respond to Plaintiffs’ proposal regarding monetary penalties. Accordingly,

  ZHP respectfully submits the following objections: (1) the proposed per-day

  sanction is contrary to law because it is not designed to compensate Plaintiffs for

  any loss, nor to compel compliance with the Court’s order, and therefore amounts to

  a criminal sanction that requires a jury finding of criminal contempt; and (2) the

  proposed per-day sanction would unfairly punish ZHP for the Special Master’s

  nearly two-year delay in ruling on the motion for sanctions, during which time at

  least part of the basis for sanctions became moot.

        Additionally, ZHP reserves its right to challenge the attorneys’ fees and costs

  sought by Plaintiffs. Without knowing whether the District Court will reverse some

  or all of the findings in SMO 98, it is impossible to determine whether the requested

  fees reasonably relate to any sanctionable conduct.

  I.    PLAINTIFFS’ PROPOSED MONETARY SANCTIONS ARE NOT
        AUTHORIZED UNDER THIRD CIRCUIT LAW.

        The significant monetary sanction proposed by Plaintiffs—separate and apart

  from their request for fees and costs—is contrary to law because ZHP has not been


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  held in criminal contempt. Moreover, the per-day penalties proposed by Plaintiffs

  would punish ZHP for the fact that the motion was pending for two years, which

  cannot possibly be the fault of ZHP.

         A.    The Fine Proposed By Plaintiffs Is A Criminal Sanction Not
               Authorized By SMO 98.

        In addition to seeking fees and costs, Plaintiffs propose that ZHP should have

  to pay an astronomical fine just shy of a million dollars as a supposed civil discovery

  sanction. (See Pls.’ Br. at 12-16 (proposing a fine of no less than $1,000 per day

  from December 15, 2021 to the date of payment, which Plaintiffs estimate to equal

  $877,000 at a minimum).) Such a significant monetary sanction is only available

  following a jury finding of criminal contempt, which has not been made here.

        It is well recognized that “[a]bsent [a finding of] contempt, the only monetary

  sanctions Rule 37 authorizes are ‘reasonable expenses’ resulting from the failure to

  comply with discovery.” Martin v. Brown, 63 F.3d 1252, 1263 (3d Cir. 1995) (“Rule

  37 cannot justify the $500 sanction the district court imposed on Bender for her

  refusal to allow discovery.”); see also Roe v. Wyndham Worldwide, Inc., No. 18-

  1525-RGA-SRF, 2023 WL 5348862, at *4 (D. Del. Aug. 21, 2023) (“Rule 37

  ‘authorizes only the imposition of costs and expenses that result from the particular

  misconduct the court sanctions.’”) (citation omitted). But the record is devoid of

  any judicial finding of contempt. Cf. Beverly v. Interior Elec. Inc. Nev., No. 21-

  55645, 2023 U.S. App. LEXIS 1715, at *4-5 (9th Cir. Jan. 23, 2023) (reversing


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  imposition of monetary penalties on non-parties for failing to comply with subpoena

  where the district court did not actually “find the non-parties in contempt in its order

  awarding attorney’s fees, or at any other point”). To the contrary, the Special

  Master’s order notes that “[t]he Restatement suggests a court should not impose

  sanctions of contempt, dismissal, or default on a party for failure to comply with a

  court order that conflicts with foreign law unless the party has deliberately concealed

  the information or failed to make good faith efforts to secure permission from the

  foreign authorities to disclose the materials.” (SMO 98 at 26-27 (emphasis added).)

        Moreover, because the monetary fine is neither intended to compensate

  Plaintiffs for any injury, nor to coerce ZHP to comply with any outstanding

  discovery, it could only be assessed based on a finding of criminal contempt. See

  Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 829 (1994)

  (noting that a fine “totaling even as little as $50” is considered “criminal if the

  contemnor has no subsequent opportunity to reduce or avoid the fine through

  compliance”); see also Hicks ex rel. Feiock v. Feiock, 485 U.S. 624, 635-36 (1988)

  (explaining that whether a sanction for contempt is criminal or civil depends on the

  character of the sanction imposed, not on the subjective intent of the Court).

  Criminal contempt “is a crime in the ordinary sense,” Bloom v. Illinois, 391 U.S.

  194, 201 (1968), and therefore can only be imposed after “procedural protections”

  akin to ordinary criminal proceedings, Harris v. City of Philadelphia, 47 F.3d 1311,



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  1329 (3d Cir. 1995). Among those are the right to a trial after notice and “a

  reasonable time to prepare a defense.” Fed. R. Crim. P. 42(a). 1 Unless the offense

  and punishment can be classified as petty, “the requisite procedural protections”

  include “a jury trial.” Harris, 47 F.3d at 1329 (reversing contempt sanction that was

  criminal in nature and imposed without a jury trial); see United States v. Twentieth

  Century Fox Film Corp., 882 F.2d 656, 665 (2d Cir. 1989) (“[T]he [right to a jury

  trial] is available for a criminal contempt whenever the fine imposed on an

  organization exceeds $100,000.”); Cassady v. Owens, No. CV408-250, 2010 WL

  6268440, at *2 (S.D. Ga. Dec. 7, 2010) (“[A] criminal contempt proceeding is an

  independent criminal action requiring the protections provided by the federal

  criminal rules: A person prosecuted for a contempt (committed out of the court’s

  presence) must be given notice of ‘the essential facts constituting the charged

  criminal contempt’ and informed of the criminal nature of the proceeding, the

  prosecution must be handled by a prosecutor appointed by the court for that purpose,

  and the alleged contemnor must be afforded the right to a jury trial (unless the court

  treats the contempt as merely a petty offense).”) (citation omitted), report &

  recommendation adopted, No. CV408-250, 2011 WL 1042711 (S.D. Ga. Mar. 22,


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         The Rule provides for summary punishment by an Article III judge of one
  “who commits criminal contempt in [the] presence [of] the judge.” Fed. R. Crim. P.
  42(b). That power does not extend to “a magistrate judge,” much less to a special
  master, and, in any event, any alleged contempt here was not done in the presence
  of the Court, but rather on the other side of the world.

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  2011).

           The proposed fine would clearly be criminal in nature because it is not

  intended to: (1) compensate Plaintiffs for any injury; or (2) coerce ZHP’s compliance

  with the discovery orders at issue.

           For one thing, Plaintiffs do not contend that they have suffered any monetary

  injury beyond their fees and costs, which have been assessed separately. (See

  generally Pls.’ Br.) Further, such an exorbitant fine would not, and could not,

  encourage compliance with the discovery orders at issue at this point. The sanctions

  order is based in part on ZHP’s alleged failure to provide document discovery

  ordered in SMO No. 54, but ZHP has already certified that it has fully complied with

  that Order. (See Certification of Richard T. Bernardo, Oct. 21, 2022 (attached to

  Oct. 21, 2022 Email from R. Bernardo to A. Slater & C. Geddis) (collectively, the

  “Bernardo Certification”) (attached collectively as Ex. 1 to the Certification of

  Jessica Davidson).) In addition, to the extent the sanctions are based on Mr. Chen’s

  inability to sit for a deposition during the discovery period, the imposition of a

  monetary penalty cannot change that. Discovery in valsartan cases has been closed

  for almost three years. (See ECF 863 (CMO No. 23) at 1 (setting the deadline for

  the completion of the “first phase of fact discovery” at June 1, 2021).) And it is the

  Chinese government, not ZHP, that precluded Mr. Chen from providing deposition

  testimony. Thus, the fine clearly is not intended to induce ZHP’s compliance with



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  discovery. Rather, this would be a criminal sanction that is available only upon a

  jury finding of criminal contempt beyond a reasonable doubt, which has not and

  could not be made here given ZHP’s good-faith attempts to comply with the Court’s

  discovery orders. See In re Kendall, 712 F.3d 814, 831 (3d Cir. 2013) (vacating

  convictions for criminal contempt and noting “good-faith compliance is a defense to

  criminal contempt but not civil contempt”).

        Plaintiffs argue in their submission that ZHP is judicially estopped from

  objecting to the hefty monetary sanction proposed by Plaintiffs because, in opposing

  Plaintiffs’ request for sanctions, ZHP argued that, if the request were granted, the

  sanctions should be monetary and that “ZHP advocated for” a “$50,000 a day

  monetary sanction.” (See Pls.’ Br. at 12-13.) This is a gross distortion of ZHP’s

  prior briefing, which merely noted that Plaintiffs had forfeited the right to seek

  monetary sanctions by failing to seek any relief other than severe trial sanctions such

  as default judgment. (ECF 1900 at 34.) Moreover, the case ZHP cited for the

  proposition that courts have granted monetary sanctions in lieu of severe trial

  sanctions for discovery violations, In re Sealed Case, 932 F.3d at 932, 939-40,

  involved a civil contempt sanction specifically designed to encourage the plaintiffs

  to produce documents in their possession that had not been disclosed, and that the

  plaintiffs had the power to turn over.        As explained above, none of these

  circumstances is present here. ZHP certified almost a year and a half ago that it had



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  produced all documents that were ordered produced. Further, ZHP lacks the power

  to force the Chinese government to allow Mr. Chen to travel for a deposition. Thus,

  imposition of an exorbitant fine against ZHP could not possibly encourage the

  deposition to move forward.

        For all of these reasons, the significant, punitive monetary sanction proposed

  by Plaintiffs is inappropriate as a matter of law and should be rejected.

         B.    Even If A Monetary Sanction Were Appropriate, Plaintiffs’
               Proposed Per-Diem Sanction Is Unfair And Illogical.

        Plaintiffs’ proposed monetary sanction is also improper because it would

  require ZHP to pay a daily monetary penalty based on the length of time Plaintiffs’

  sanctions motions has been pending before the Special Master—and how long it

  takes to resolve the appeal of that order to Chief Judge Bumb—which ZHP cannot

  control.

        According to Plaintiffs, ZHP should be punished with an arbitrary sanction of

  at least $1,000-per-day to be “measured from the expiration of the deadline for

  Baohua Chen’s deposition—at the latest (December 15, 2021), [that] only cease[s]

  accumulating as of the date ZHP pays the sanction amounts ordered in SMO 98 in

  full.” (Pls.’ Br. at 15.) Plaintiffs further assert that, since “a period of 877 days” has

  passed between “December 15, 2021 [and] the date of the issuance of SMO 98, May

  10, 2024,” that means that sanction would total $877,000 at the very least (id.)—and

  invariably much more given that time has passed since the order was issued and will


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  continue to pass as ZHP objected to that order before Chief Judge Bumb. But this

  type of per-diem fine makes no sense given the circumstances of this litigation.

        As noted above, ZHP’s counsel certified in October 2022 that all documents

  in ZHP’s possession that had been ordered produced by the Court had been turned

  over to plaintiffs. (See generally Bernardo Certification.) Thus, any monetary

  sanction based on ZHP’s purported failure to produce those materials could not fairly

  be assessed after the date of the production of those materials. In addition, as ZHP

  has demonstrated through numerous factual and legal declarations, Mr. Chen is

  unable to appear for a deposition in this case because the Chinese government

  restricted him from traveling outside mainland China to testify, a fact of which both

  Plaintiffs and the Special Master were made fully aware through the briefing on

  Plaintiffs’ sanctions motion, which was completed in February 2022.                The

  impossibility of presenting Mr. Chen for a deposition renders the imposition of any

  monetary sanction for his failure to appear after that point inappropriate.        See

  Camerons Hardware Inc. v. Indep. Blue Cross, 363 F. App’x 197, 201 (3d Cir. 2010)

  (finding an abuse of discretion where court imposed a civil contempt sanction

  without determining whether the contemnor “was then unable to comply with the

  order or would be unable to do so in the foreseeable future” given “an order of civil

  contempt [is or will become] punitive if a contemnor is unable to comply with the

  order”) (citation omitted). Notably, Plaintiffs fail to cite any authority suggesting



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  that per-diem sanctions are appropriate where, as here, a party lacks the ability to

  comply with an outstanding discovery order due to the actions of a third party (in

  this case, the Chinese government) and therefore a continuing, daily sanction will

  do nothing to facilitate the discovery sought and would instead be entirely punitive.

           Plaintiffs also lack any legal support for the per-diem sanctions that include

  the almost two-year period that the parties were waiting for oral argument on, and

  the eventual resolution of, the sanctions motion, which ZHP could not control. It

  would be grossly unfair to force ZHP to pay hundreds of thousands of dollars in

  monetary penalties for alleged non-compliance during the time period that the

  parties were waiting for the Special Master’s ruling as to whether any sanctions were

  appropriate at all. It would be similarly inappropriate to order per-diem sanctions

  continuing past the date of the sanctions order and during the pendency of ZHP’s

  objections to the order to Chief Judge Bumb, who may take a different view of the

  issue.

           For all of these reasons, Plaintiffs’ proposed monetary penalty should be

  rejected.

  II.      ZHP RESERVES THE RIGHT TO CHALLENGE THE
           REASONABLENESS AND APPROPRIATENESS OF PLAINTIFFS’
           PROPOSED FEES AND COSTS.

           ZHP also reserves the right to challenge the reasonableness and

  appropriateness of Plaintiffs’ purported fees and costs in pursuing the discovery at



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  issue in their sanctions motion, which Plaintiffs claim total more than $350,000.

  (Pls.’ Br. at 16.) Without knowing what provisions, if any, of SMO 98 will be

  accepted by Chief Judge Bumb based on her de novo review of the order, ZHP cannot

  adequately assess whether Plaintiffs’ requested fees are reasonable and appropriate.

        For example, while the Special Master ordered that the time Plaintiffs spent

  drafting their proposed adverse inference instruction to the jury should be included

  in any request for fees (SMO 98 at 39 ¶ 2), that time would not be compensable if

  Chief Judge Bumb finds an adverse inference to be unwarranted as a matter of law.

  See Robin Woods Inc. v. Woods, 28 F.3d 396, 401 (3d Cir. 1994) (partially reversing

  award of attorneys’ fees where the district court awarded “other expenses without an

  adjustment for the limited degree of [the party’s] success,” which the court noted

  could “only be characterized as arbitrary”). Similarly, should the District Court

  vacate the sanctions based on Mr. Chen’s inability to sit for deposition due to the

  actions of the Chinese government, while affirming the sanctions based on alleged

  failure to produce documents, or vice versa, any time spent pursuing the rejected

  sanctions would not be subject to recovery. See id. And if any part of the sanctions

  order is reversed, it would be inappropriate for the entirety of the Special Master’s

  fees in resolving the sanctions motion to be assessed to ZHP. See id.

        In addition, the one-week period ZHP was permitted to submit this response

  to Plaintiffs’ requests for fees and costs was not sufficient to allow ZHP to



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  meaningfully review and assess each of the individual attorney fee records, which

  span a period of almost four years, to confirm that they are reasonable in light of the

  status of the dispute between the parties during different time periods.

        Accordingly, ZHP generally objects to Plaintiffs’ requests for fees and costs

  and reserves the right to make specific objections to those requests after the District

  Court rules on ZHP’s Objections to Special Master Order No. 98.

                                     CONCLUSION

        For all of the reasons set forth above, the Special Master should reject

  Plaintiffs’ request for monetary sanctions and reserve ruling on the propriety of

  Plaintiffs’ proposed fees and costs until after Chief Judge Bumb has reviewed the

  sanctions order and ZHP has had the opportunity to assess the validity of Plaintiffs’

  fee request in light of the Chief Judge’s ruling.

  Dated: May 31, 2024                     Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 31, 2024, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send

  a notice of electronic filing to all CM/ECF participants in this matter.

                                                 /s/ Jessica Davidson
                                                 Jessica Davidson




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